Case 2:05-cr-20307-BBD Document 12 Filed 08/24/05 Page 1 of 2 Page|D 15

IN THE UNITED sTATEs DIsTRlCT coURT F“£D B`*' -»‘----- °‘°'

FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

 

WEerRN DIVISION 05 AUG 21* PH 3‘ 32
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UNITED sTATEs oF AMERICA aim i`tf itt teams
V.
ELAINE F. JACOBY 05cr2030'7-D
ORDER ON ARRAIGNMENT
This cause came to be heard on OHl all los the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared-ingerson and with
counsel: n YYB&~¢AMC£, wANEU
NAME PA'm HAm Klk} who is Retained/Appointed.

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

\/ The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
,___.
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:641
PUBLIC MONEY, PROPERTY OR RECORDS

Attorney assigned to Case: V. Donelson

Age; NIA

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20307 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable Bernice Donald
US DISTRICT COURT

